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8                           IN THE UNITED STATES DISTRICT COURT

9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,              ) 1:14-CR-00228-LJO-SKO
                                            )
12                        Plaintiff,        ) ORDER FOR FORFEITURE MONEY
                                            ) JUDGMENT
13                v.                        )
                                            )
14   ASHLEY STARLING THOMAS,                )
                                            )
15                        Defendant.        )
                                            )
16                                          )
17          Based upon the United States’ Application for Forfeiture Money

18   Judgment and the guilty verdict entered by the Grand Jury against

19   defendant Ashley Starling Thomas,

20          IT IS HEREBY ORDERED that

21          1.    The defendant Ashley Starling Thomas shall forfeit to the

22   United States the sum of $213,800.00 and that the Court imposes a

23   personal forfeiture money judgment against defendant in that amount.

24          2.    Any funds applied towards such judgment shall be forfeited

25   to the United States of America and disposed of as provided for by

26   law.     Prior to the implementation of sentence, any funds delivered to

27   the United States to satisfy the personal money judgment shall be

28   seized and held by the Internal Revenue Service – Criminal

29
                                                       Order for Forfeiture Money
30                                              1      Judgment
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1    Investigations, in its secure custody and control.

2         3.    This Order of Forfeiture shall become final as to the

3    defendant at the time of sentencing, and shall be made part of the

4    sentence and included in the judgment.

5         4.    The United States may, at any time, move pursuant to Rule

6    32.2(e) to amend this Order of Forfeiture to substitute property

7    having a value not to exceed $213,800.00 to satisfy the money

8    judgment in whole or in part.

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     IT IS SO ORDERED.
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11     Dated:   November 1, 2016             /s/ Lawrence J. O’Neill _____
                                       UNITED STATES CHIEF DISTRICT JUDGE
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                                                    Order for Forfeiture Money
30                                           2      Judgment
